           Case 1:20-cv-03244-LMM-CCB Document 1 Filed 08/04/20 Page 1 of 12



                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA

AALIYAH TAYLOR,

                  Plaintiff,
v.                                                      Civil Action No.

AMAZON.COM, INC.,

                  Defendants.
                                                        Jury Trial Demand



       COMPLAINT FOR DAMAGES, DECLARATORY AND EQUITABLE RELIEF

           Plaintiff, by and through undersigned counsel, Jesse Kelly P.C., files this Complaint for

Damages and Equitable Relief, and shows the Court as follows:

I.         Preliminary Statement


      1.      This action seeks actual damages, declaratory, injunctive and equitable relief,

              compensatory damages, and costs and attorney's fees for the disability discrimination

              suffered by Plaintiff Aaliyah Taylor (“Ms. Taylor”) in her treatment by Defendant,

              Amazon, Inc., (“Amazon”).

II.        Jurisdiction

      2.      This action is brought for discrimination, failure to accommodate, and hostile work

              environment pursuant to the Rehabilitation Act of 1973 as amended, §§ 501, 504, and

              510, 29 U.S.C. §§ 791. The jurisdiction of this court is invoked to secure protection

              and redress deprivation of rights secured by federal law which prohibits

              discrimination against employees because of their disability.




                                                    1
        Case 1:20-cv-03244-LMM-CCB Document 1 Filed 08/04/20 Page 2 of 12




       3.      The jurisdiction of this Court is invoked pursuant to its original jurisdiction over

               cases and controversies arising under federal law, pursuant to 28 U.S.C. § 1331,

               and all prerequisites to bringing this suit have been met. This suit is properly

               before the court.

       4.      Plaintiff made timely informal Equal Employment Opportunity (hereinafter

               “EEO”) contact regarding counseling the claims at issue in this action, and

               following her EEOC investigation, Plaintiff received her right to sue on or about

               May 7, 2020.

       5.      Plaintiff timely filed a formal complaint of discrimination on August 3, 2020. See.

               Ex. 1.

III.        Venue

       6.      This action properly lies in the United States District Court for the Northern

               District of Georgia, pursuant to 29 U.S.C. § 1391(b), because the claim arose in

               this judicial district, and pursuant to 42 U.S.C. § 2000e-5(f)(3), because the

               unlawful employment practice was committed in this judicial district.

IV.         Parties

       7.      Ms. Taylor was a full-time employee with the Amazon at all relevant times.

               During this period, Ms. Taylor worked as a Level 5, Senior Regional Experience

               Manager at four Atlanta area retail malls (Lenox Square, Mall of Georgia,

               Perimeter Mall and North Point Mall). Ms. Taylor is a resident of Fulton

               County, GA and is a citizen of the United States.

       8.      Amazon, Defendant, is a private sector employer and has offices throughout the


                                                    2
      Case 1:20-cv-03244-LMM-CCB Document 1 Filed 08/04/20 Page 3 of 12



              United States, including in Atlanta, GA. Amazon is an employer, engages in an

              industry affecting commerce, and, upon information and belief, employs more

              than 500 regular employees.

V.         Facts

     9.       Amazon hired Plaintiff as a Level 4, Retail Experience Manager, on or about

              June 20, 2016.

     10.      Plaintiff was promoted on or about September 21, 2017 to Level 5, Senior

              Retail Experience Manager.

     11.      Plaintiff’s duties included spending time each day at one of four Atlanta area

              retail mails to audit operations and develop Assistant Retail Experience

              Mangers (AREM) at Amazon kiosk.

     12.      On October 25, 2018, Plaintiff reported a work-related injury involving

              severe pain in her neck and shoulder while working on her laptop.

     13.      On October 31, 2018, Plaintiff visited Dr. Ellis I. Efobi and was diagnosed

              with a sprain of the joints and ligaments of the neck, and a sprain of the

              ligaments of the upper back.

     14.      On October 31, 2018, Dr. Efobi restricted Ms. Taylor from prolong bending

              and twisting of the injured areas and lifting more than 20lbs above Plaintiff’s

              shoulders. Dr. Efobi provided Plaintiff a Cervical Strain and Sprain

              treatment plan for at home and work in addition to medication and physical

              therapy.

     15.      On October 31, 2018, Plaintiff temporarily requested to telecommute, in

              accordance with Amazon’s policies, or at the Amazon Web Services office

                                                  3
 Case 1:20-cv-03244-LMM-CCB Document 1 Filed 08/04/20 Page 4 of 12



      building. Defendant declined.

16.   Plaintiff soon after returned to work at Amazon.

17.   On November 7, 2018, Plaintiff had a follow up appointment with Dr. Efobi

      for continuing pain. Dr. Efobi restricted complainant from bending, twisting,

      and lifting anything greater than 10lbs. Dr. Efobi additionally recommended

      Plaintiff request to work from a desk with monitor at eye level and adjustable

      chair.

18.   On or about November 13, 2018, Plaintiff requested from Davida Pope,

      Workers Compensation Manager, and Karin Turner, Regional

      Accommodations Manager, a medical leave of absence.

19.   On December 26, 2018, Karin Turner, Accommodations Manager, called

      Plaintiff to return to work. Plaintiff expressed reservations because her

      medical leave had not expired, and she did not have the accommodations she

      sought.

20.   On December 26, 2018, Deidra Suber, supervisor, called and informed

      Plaintiff that her medical leave was being shortened and that she was due

      back to work the next day. Plaintiff expressed her concerns about returning

      to work early due lingering pain from her prior work-place injuries.

21.   On January 10, 2019, Deidra Super sent a text message to Plaintiff inquiring

      on how her return to work had been. Plaintiff responded that she still

      experienced discomfort resulting from a pinched nerve but conceded the

      workspace riser helped.

22.   Between February 26, 2019 through February 28, 2019, Plaintiff notified her



                                          4
       Case 1:20-cv-03244-LMM-CCB Document 1 Filed 08/04/20 Page 5 of 12



               supervisor and Assistant Retail Experience Managers (AREM) that she

               would be taking sick leave.

      23.      Despite her absence, Plaintiff still made herself available for scheduled

               teleconferencing calls with her supervisor, REMs, and AREMs on February

               27, 2019.

      24.      On March 3, 2019, Plaintiff was terminated from Amazon by Deidra Suber

               and Kaitlyn Andrus.

      25.      Plaintiff was never placed on an Amazon Pivot for performance

               improvement. See Ex. 2.

VI.         Count I: Violation of the Rehabilitation Act of 1973: Hostile Work
            Environment

      26.      Ms. Taylor incorporates by reference paragraphs 1-25 of her complaint as if

               fully set forth herein.

      27.      This harassment had the purpose or effect of unreasonably interfering with Ms.

               Taylor’s work performance and/or creating an intimidating, hostile, or offensive

               work environment.

      28.      There is basis for imputing liability to the Defendant for the actions of Ms. Taylor’s

               supervisor, Ms. Deidra Suber, in creating the hostile work environment.

VII.        Count II: Violation of the Rehabilitation Act of 1973: Retaliation

      29.      Ms. Taylor incorporates by reference paragraphs 1-25 of her complaint as if

               fully set forth herein.

      30.      Plaintiff expressed to Deidra Suber her reasonably held belief in opposition to

               reporting to work before her medical leave expired.

      31.      Ms. Taylor was terminated from Amazon on March 5, 2019.

      32.      There is reason to believe Plaintiff’s reluctance to return to work before her medial

                                                      5
        Case 1:20-cv-03244-LMM-CCB Document 1 Filed 08/04/20 Page 6 of 12



                leave expired and her subsequent sick leave between February 26, 2019 and

                February 28, 2019 resulted in her termination.

 VIII. Prayer for Relief

       33.      Wherefore, Ms. Taylor prays that this Court:

                a.      Declare the conduct engaged from Amazon to be in violation of Ms.

                        Taylor’s rights;

                b.      Award Ms. Taylor compensatory damages;

                c.      Award Ms. Taylor backpay;

                d.      Award Ms. Taylor cost and attorney’s fees; and

                e.      Grant such other relief as it may deem just and proper.

 IX.         Jury Demand

       34.      Ms. Taylor request a jury trial on all questions of fact raised by this Complaint.

Respectfully submitted on this 4th Day of August, Two Thousand Twenty.




                                                                       /s/ Jesse L. Kelly
                                                                       GA State Bar No.
                                                                       935869
                                                                       Jesse Kelly PC
                                                                       3355 Lenox Rd., Suite 75
                                                                       Atlanta, GA 30326
                                                                       Phone: 678-460-6801
                                                                       Email: jesse@jkellypc.com



                                                                       ATTORNEY FOR PLAINTIFF




                                                        6
Case 1:20-cv-03244-LMM-CCB Document 1 Filed 08/04/20 Page 7 of 12




           EXHIBIT 1




                                7
                   Case 1:20-cv-03244-LMM-CCB Document 1 Filed 08/04/20 Page 8 of 12
 EEOC Form 161-B (11/16)                   U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                         NOTICE OF RIGHT TO SUE (ISSUED ON REQUEST)
To:     Aaliyah Taylor                                                                                         From:            Atlanta District Office
        741 Morosgo Drive NE, #1355                                                                                             100 Alabama Street, S.W.
        Atlanta, GA 30324                                                                                                       Suite 4R30
                                                                                                                                Atlanta, GA 30303




                  On behalf of person(s) aggrieved whose identity is
                  CONFIDENTIAL (29 CFR §1601.7(a))

 EEOC Charge No.                                         EEOC Representative                                                                         Telephone No.

                                                         Aundrea L. Smallwood,
 410-2019-07641                                          Investigator                                                                                (404) 562-6879
                                                                                                     (See also the additional information enclosed with this form.)
NOTICE TO THE PERSON AGGRIEVED:
Title VII of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title VII, the ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Title VII, the ADA or GINA must be filed in a federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a claim under
state law may be different.)

        X         More than 180 days have passed since the filing of this charge.

                  Less than 180 days have passed since the filing of this charge, but I have determined that it is unlikely that the EEOC will
                  be able to complete its administrative processing within 180 days from the filing of this charge.
        X         The EEOC is terminating its processing of this charge.

                  The EEOC will continue to process this charge.
Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed action on the charge. In this regard, the paragraph marked below applies to
your case:
                  The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be filed in federal or state court WITHIN
                  90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered charge will be lost.

                  The EEOC is continuing its handling of your ADEA case. However, if 60 days have passed since the filing of the charge,
                  you may file suit in federal or state court under the ADEA at this time.

Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 years (3 years) before you file suit may not be collectible.

If you file suit, based on this charge, please send a copy of your court complaint to this office.

                                                                              On behalf of the Commission


                                                                       Terry Tollefson
                                                                                         Digitally si gned by Terry Tollefson
                                                                                         DN: cn=Terry Tollefson, o=EEOC,
                                                                                         ou=Atlanta District Office,
                                                                                         email=terry.tollefson@eeoc.gov, c=US
                                                                                                                                         For       May 5, 2020
                                                                                         Date: 2020.05.05 12:55:25 -04'00'



 Enclosures(s)                                                             Darrell E. Graham,                                                              (Date Mailed)
                                                                            District Director

 cc:           Heather M. Wright                                                                              Jeff Del Rio
               Attorney                                                                                       SPIELBERGER LAW GROUP
               AMAZON                                                                                         4890 W. Kennedy Boulevard
               2301 McGee Street                                                                              Suite 950
               8th Floor                                                                                      Tampa, FL 33609
               C/O Littler Mendelson, P.C. - Gsc (Lcs)
               Kansas City, MO 64108
               Case 1:20-cv-03244-LMM-CCB Document 1 Filed 08/04/20 Page 9 of 12
Enclosure with EEOC
Form 161-B (11/16)
                                       INFORMATION RELATED TO FILING SUIT
                                     UNDER THE LAWS ENFORCED BY THE EEOC
                      (This information relates to filing suit in Federal or State court under Federal law.
             If you also plan to sue claiming violations of State law, please be aware that time limits and other
                    provisions of State law may be shorter or more limited than those described below.)


PRIVATE SUIT RIGHTS          --   Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA),
                                  the Genetic Information Nondiscrimination Act (GINA), or the Age
                                  Discrimination in Employment Act (ADEA):

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.
Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Courts often require that a copy of
your charge must be attached to the complaint you file in court. If so, you should remove your birth date from the
charge. Some courts will not accept your complaint where the charge includes a date of birth. Your suit may include
any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its main office. If you have simple questions, you usually can get answers from
the office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint
or make legal strategy decisions for you.

PRIVATE SUIT RIGHTS          --   Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 – not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION --               Title VII, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE                    --   All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

                  IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
              Case 1:20-cv-03244-LMM-CCB Document 1 Filed 08/04/20 Page 10 of 12
NOTICE OF RIGHTS UNDER THE ADA AMENDMENTS ACT OF 2008 (ADAAA): The ADA was
amended, effective January 1, 2009, to broaden the definitions of disability to make it easier for individuals to
be covered under the ADA/ADAAA. A disability is still defined as (1) a physical or mental impairment that
substantially limits one or more major life activities (actual disability); (2) a record of a substantially limiting
impairment; or (3) being regarded as having a disability. However, these terms are redefined, and it is easier to
be covered under the new law.

If you plan to retain an attorney to assist you with your ADA claim, we recommend that you share this
information with your attorney and suggest that he or she consult the amended regulations and
appendix,        and         other       ADA          related     publications,    available       at
http://www.eeoc.gov/laws/types/disability_regulations.cfm.

“Actual” disability or a “record of” a disability (note: if you are pursuing a failure to accommodate claim
you must meet the standards for either “actual” or “record of” a disability):

  The limitations from the impairment no longer have to be severe or significant for the impairment to
   be considered substantially limiting.
  In addition to activities such as performing manual tasks, walking, seeing, hearing, speaking, breathing,
   learning, thinking, concentrating, reading, bending, and communicating (more examples at 29 C.F.R. §
   1630.2(i)), “major life activities” now include the operation of major bodily functions, such as:
   functions of the immune system, special sense organs and skin; normal cell growth; and digestive,
   genitourinary, bowel, bladder, neurological, brain, respiratory, circulatory, cardiovascular, endocrine,
   hemic, lymphatic, musculoskeletal, and reproductive functions; or the operation of an individual organ
   within a body system.
  Only one major life activity need be substantially limited.
  With the exception of ordinary eyeglasses or contact lenses, the beneficial effects of “mitigating
   measures” (e.g., hearing aid, prosthesis, medication, therapy, behavioral modifications) are not
   considered in determining if the impairment substantially limits a major life activity.
  An impairment that is “episodic” (e.g., epilepsy, depression, multiple sclerosis) or “in remission” (e.g.,
   cancer) is a disability if it would be substantially limiting when active.
  An impairment may be substantially limiting even though it lasts or is expected to last fewer than six
   months.

“Regarded as” coverage:
  An individual can meet the definition of disability if an employment action was taken because of an
    actual or perceived impairment (e.g., refusal to hire, demotion, placement on involuntary leave,
    termination, exclusion for failure to meet a qualification standard, harassment, or denial of any other term,
    condition, or privilege of employment).
  “Regarded as” coverage under the ADAAA no longer requires that an impairment be substantially
    limiting, or that the employer perceives the impairment to be substantially limiting.
  The employer has a defense against a “regarded as” claim only when the impairment at issue is objectively
    BOTH transitory (lasting or expected to last six months or less) AND minor.
  A person is not able to bring a failure to accommodate claim if the individual is covered only under the
    “regarded as” definition of “disability.”

Note: Although the amended ADA states that the definition of disability “shall be construed broadly” and
“should not demand extensive analysis,” some courts require specificity in the complaint explaining how an
impairment substantially limits a major life activity or what facts indicate the challenged employment action
was because of the impairment. Beyond the initial pleading stage, some courts will require specific evidence
to establish disability. For more information, consult the amended regulations and appendix, as well as
explanatory publications, available at http://www.eeoc.gov/laws/types/disability_regulations.cfm.
Case 1:20-cv-03244-LMM-CCB Document 1 Filed 08/04/20 Page 11 of 12




           EXHIBIT 2




                                8
Pivot                                                                       https://inside.amazon.com/en/employment/career/performance/pivot/Pag...
              Case 1:20-cv-03244-LMM-CCB Document 1 Filed 08/04/20 Page 12 of 12




            Pivot
                                                                             Published by/Contact Information: Global Talent Management



                                                      中文 (Chinese) Čeština Deutsch Español Français
                                               Italiano ⽇本語 (Japanese) Polski Română Slovenský Türkçe




          While the majority of Amazonians meet or exceed our high bar, there may be times when an employee’s performance
          does not meet expectations. In these situations, the employee’s manager will take steps to help the employee
          improve to the required level by providing feedback, coaching, and support. If the employee’s performance does not
          improve sufficiently after coaching and support, their manager may enter them into Pivot.

          Pivot is for Level 4–7 employees (and L1–L3 employees in certain countries), and gives them three options:

                   Improve their performance and stay at Amazon: We want to give our employees every opportunity to succeed at
                   Amazon, which is why we give them the choice to complete a Performance Improvement Plan (PIP). A PIP
                   defines areas for improving performance in a defined period of time. If the employee successfully completes the
                   PIP, they are removed from Pivot.
                   Leave Amazon with severance or other financial payment: While we are committed to helping employees
                   improve their performance and remain with Amazon long-term, we understand that some employees may
                   decide that Amazon is not the right place for them. Depending on the country where the employee works, they
                   can leave Amazon with severance or other financial payment. Taking this payment is optional, and is intended to
                   provide the employee with financial stability while they consider external options.
                   Appeal their manager’s decision to enter them into Pivot: We established an appeal process because employees
                   and managers may reasonably disagree about the employee’s performance. Employees that choose this option
                   can either have their appeal reviewed by a manager outside of their skip-level manager’s reporting chain, or
                   have their appeal reviewed by a panel of Amazonians. If the employee’s appeal is successful, they are removed
                   from Pivot immediately and have the choice to be placed with another team or stay on their current team. If the
                   employee’s appeal is unsuccessful, they will remain in Pivot and can choose one of the other options (improve
                   their performance or leave Amazon).

          The specifics of each option vary by country, and a detailed overview is given to each employee when they are entered
          into Pivot. Throughout an employee’s time in Pivot, they receive process guidance and support from a dedicated team
          of Pivot subject-matter experts called Career Ambassadors.




         Page last updated 1/31/2019 8:19 AM   Amazon.com Confidential




1 of 1                                                                                                                                    3/12/2019, 4:05 PM
